         Case 12-40701   Doc 27   Filed 04/24/14   Entered 04/24/14 08:25:16   Desc Main Document   Page 1 of 6




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CHAPTER 7 TRUSTEE

                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

 IN RE:
                                                              Case No. 12-40701
 OPTOVISION TECHNOLOGIES, INC.                                Chapter 7

                                     Debtor

                         FINAL APPLICATION OF TRUSTEE’S COUNSEL
                            FOR PAYMENT OF FEES AND EXPENSES

NO HEARING WILL BE CONDUCTED ON THIS APPLICATION UNLESS A WRITTEN RESPONSE IS
FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT, AND SERVED UPON
THE PARTY FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM DATE OF SERVICE
UNLESS THE COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH REQUESTS FOR
HEARING. THE COURT WILL THEREAFTER SET A HEARING. IF NO RESPONSE IS TIMELY
SERVED AND FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT
MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT. THE COURT RESERVES THE RIGHT
TO SET A HEARING ON ANY MATTER.

        COMES NOW, Mark A. Weisbart, Trustee, submitting this Final Application of

Trustee’s Counsel for Payment of Fees and Expenses, pursuant to Section 330 of the Bankruptcy

Code, and, in support hereof, would show the Court as follows:

        1.       On March 20, 2012, a voluntary petition under Chapter 7 of the Bankruptcy Code

was filed by the Debtor and Mark A. Weisbart was appointed as Trustee.

        2.       On May 9, 2012, the Court entered its Order Granting Application to Approve

Employment of Mark A. Weisbart and his law firm (collectively “Counsel”) as Counsel for the

Trustee.




Final Application of Trustee’s Counsel for Payment of Fees and Expenses                                           Page 1
         Case 12-40701   Doc 27   Filed 04/24/14   Entered 04/24/14 08:25:16   Desc Main Document   Page 2 of 6




        3.       Pursuant to this Application, Counsel seeks fees totaling $2,059.50 and expenses

of $174.45.

        4.       A copy of the billing statements of Counsel are attached hereto as Exhibit “A”.

Exhibit “A” sets forth on a daily basis the nature of the services rendered by Counsel, the date on

which those services were performed, the attorney, paralegal or legal assistant who performed

these services, and the amount of time dedicated to the particular service. Legal services

performed by Mark A. Weisbart were performed in his capacity as his own attorney.

        5.       Professional fees incurred by counsel for a trustee are subject to the standards set

forth in the case of In Re: First Colonial Corp., 544 F.2d 1291, 1298-99 (5th Cir. 1977), cert.

denied, 431 U.S. 904 (1977). Most of these factors, such as (i) the novelty or undesirability of the

case, (ii) preclusion of other employment (iii) time limitations (iv) requisite skill required and (v)

counsels reputation and ability did not present any unique circumstances or issues in this case.

Two factors which are considered carefully are the results obtained in the case and time spent by

counsel.     Here, due in part to efforts of the Trustee and his professionals, Trustee collected

approximately $2,500.00 during the course of the case. The allowed unsecured claims in this

case consist of creditors holding claims of $218,245.01.

        6.       The current balance of funds on hand is $1,686.91. During the course of the case

the Trustee conducted an auction of hard assets which only generated approximately $1,842.00

after deduction of the auctioneer’s expenses.                     Trustee has contemporaneously with this

Application filed a Notice of Abandonment of all other assets which consists of purported claims

and causes of action. After consultation with the United States Trustee, and given the amount of

claims in the case, the Trustee has determined a distribution would not be meaningful and will

close the case if and once this Application is approved.




Final Application of Trustee’s Counsel for Payment of Fees and Expenses                                           Page 2
         Case 12-40701   Doc 27   Filed 04/24/14   Entered 04/24/14 08:25:16   Desc Main Document   Page 3 of 6




        WHEREFORE, PREMISES CONSIDERED, Trustee requests upon appropriate notice

and opportunity for hearing, this Court enter an order approving the First and Final Application

of Trustee’s Counsel for Payment of Fees and Reimbursement of Expenses and grant Counsel

such other and further relief to which they are justly entitled.

                                                        Respectfully submitted,

                                                        /s/ Mark A. Weisbart
                                                        Mark A. Weisbart
                                                        Texas Bar No. 21102650
                                                        THE LAW OFFICE OF MARK A. WEISBART
                                                        12770 Coit Road, Suite 541
                                                        Dallas, Texas 75251
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                                                        weisbartm@earthlink.net

                                                        CHAPTER 7 TRUSTEE

                                       CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing instrument was served on
the below individuals through the Court's electronic notification system as permitted by
Appendix 5005 to the Local Rules of the U.S. Bankruptcy Court for the Eastern District of
Texas, or by first class United States Mail, postage prepaid this 24th day of April, 2014.

Office of the U.S. Trustee                                    Optovision Technologies, Inc.
110 N College, Suite 300                                      2605 Anders Lane
Tyler, Texas 75702                                            Plano, TX 75093

Gregory T. Meyer                                              American Express Travel Related Services Co Inc.
Meyer & Colegrove, PLLC                                       c/o Gilbert B. Weisman
5700 Granite Parkway, Suite 470                               Becket and Lee LLP
Plano, TX 75024                                               PO Box 3001
                                                              Malvern, PA 19355-0701
Dallas County
c/o Laurie Spindler Huffman                                   Jones and Mauldin Real Estate Partnerhsip, Ltd.
Linebarger, Goggan, Blair & Sampson                           c/o Paul A. Hoffman
2777 N Stemmons Frwy, Ste 1000                                Paul A. Hoffman, P.C.
Dallas, TX 75207                                              17772 Preston Road, Suite 102
                                                              Dallas, TX 75252

                                                                 /s/ Mark A. Weisbart
                                                                 Mark A. Weisbart


Final Application of Trustee’s Counsel for Payment of Fees and Expenses                                           Page 3
             Case 12-40701   Doc 27   Filed 04/24/14   Entered 04/24/14 08:25:16   Desc Main Document   Page 4 of 6


                           THE LAW OFFICE OF MARK A. WEISBART
                                    ATTORNEY AT LAW
                                  12770 Coit Road, Suite 541
                                     Dallas, Texas 75251
                                        ___________
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                                   weisbartm@earthlink.net




Optovision Technologies, Inc.



Invoice # 9910316
In Re:    Case No. 12-40701

                Professional Services

                                                                                                          Hours       Amount

      4/17/2012 GRA           CASE ADMINISTRATION                                                           1.70      $476.00
                              Listen to 341 recording (.5); draft
                              motion to approve auctioneer,
                              affidavit, proposed order, motion to
                              sell, and proposed order (1.2)

      4/18/2012 GRA           CASE ADMINISTRATION                                                           0.20      $56.00
                              Review file, email Cindy to do
                              application to employ law firm (.1);
                              email Shattuck affidavit re his
                              employment (.1)

      4/19/2012 GRA           CASE ADMINISTRATION                                                           0.20      $56.00
                              Revisions to Motion to Sell (.2)

      4/23/2012 CD            CASE ADMINISTRATION                                                           1.00      $95.00
                              Revise Motions, Affidavits and Orders
                              to employ MAW and Shattuck; revise
                              Motion and Order to Sell

      4/27/2012 MAW           CASE ADMINISTRATION                                                           0.30      $135.00
                              Telephone call with landlord's counsel
                              re access for auctioneer, email to
                              auctioneer re same

      4/28/2012 MAW           CASE ADMINISTRATION                                                           0.30      $135.00
                              Emails related to review of equipment

      5/11/2012 MAW           CASE ADMINISTRATION                                                           0.20      $90.00
                              Telephone call with Paul Hoffman




                                                          Exhibit "A"
     Case 12-40701   Doc 27   Filed 04/24/14   Entered 04/24/14 08:25:16   Desc Main Document   Page 5 of 6




                                                                                                    Page        2

                                                                                                  Hours         Amount

5/16/2012 MAW         CASE ADMINISTRATION                                                           0.20        $90.00
                      Telephone call with auctioneer re
                      status

5/17/2012 MAW         CASE ADMINISTRATION                                                           0.20        $90.00
                      Emails to debtor's counsel

5/29/2012 CD          CASE ADMINISTRATION                                                           0.10            $9.50
                      Scan incoming documents

 6/4/2012 CD          CASE ADMINISTRATION                                                           0.10            $9.50
                      Scan incoming documents

 7/2/2012 CD          CASE ADMINISTRATION                                                           1.00        $95.00
                      Draft Report of Sale; Draft auctioneer
                      fee application and order; call to
                      auctioneer re: same; revise
                      application and order

 7/3/2012 CD          CASE ADMINISTRATION                                                           0.50        $47.50
                      Revise report of sale and auctioneer
                      fee application and order

          MAW         CASE ADMINISTRATION                                                           0.30       $135.00
                      Review auctioneer related pleadings

8/13/2012 MAW         CASE ADMINISTRATION                                                           0.40       $180.00
                      Emails re status of loan

4/18/2014 MAW         FEE APPLICATION                                                               0.50       $225.00
                      Prepare fee application documents

          MAW         CASE ADMINISTRATION                                                           0.30       $135.00
                      Review file and prepare abandonment
                      notice

          For professional services rendered                                                        7.50      $2,059.50

        Additional Charges :

4/23/2012 MAW         Copy Service                                                                                  58.15
                      Copies and mailout - motion to sell

4/21/2014 MAW         Copy Service                                                                                  58.15
                      Copies and mailout - abandon notice




                                                  Exhibit "A"
           Case 12-40701   Doc 27   Filed 04/24/14   Entered 04/24/14 08:25:16   Desc Main Document   Page 6 of 6




                                                                                                          Page        3

                                                                                                                     Amount

     4/22/2014 MAW          Copy Service                                                                                  58.15
                            Copies and mailout - fee application

                Total costs                                                                                           $174.45


                Total amount of this bill                                                                           $2,233.95


                Balance due                                                                                         $2,233.95




                                               Timekeeper Summary
Name                                                                                                     Hours          Rate
Greg R. Arnove                                                                                            2.10        280.00
Mark A. Weisbart                                                                                          2.70        450.00
Cindy Davis                                                                                               2.70         95.00




                                                        Exhibit "A"
